      Case 3:16-cv-02557-D Document 25 Filed 07/24/17             Page 1 of 1 PageID 386


                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

MERCURY MULTIFAMILY                            §
MANAGEMENT, LLC AND MERCURY                    §
METROPLEX REAL ESTATE II, LLC,                 §
                                               §
        Plaintiffs,                            §
                                               §
vs.                                            §    CIVIL ACTION NO. 3:16-CV-2557-D
                                               §
PELEUS INSURANCE COMPANY,                      §
ENGLE MARTIN & ASSOCIATES, AND                 §
RIDGE BRENTON KIRN,                            §
                                               §
        Defendants.                            §

        ORDER GRANTING AGREED MOTION TO DISMISS WITH PREJUDICE

        Before the Court is the Agreed Motion to Dismiss with Prejudice (“Motion”) filed by

Plaintiffs Mercury Multifamily Management, LLC and Mercury Metroplex Real Estate II, LLC

(collectively, “Plaintiffs”) and Defendant Peleus Insurance Company (“Defendant”). After

considering the Motion, this Court is of the opinion that the Motion should be GRANTED.

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that all claims

Plaintiffs have asserted against Defendant in this lawsuit are hereby DISMISSED WITH

PREJUDICE.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that all costs incurred by

Plaintiffs and Defendant in this case shall be borne solely by the party, or parties, by whom they

were incurred.


        SIGNED this 24th        July
                    ____ day of __________________, 2017.



                                                JUDGE PRESIDING


ORDER GRANTING AGREED MOTION TO DISMISS WITH PREJUDICE                                      Page 1
4825-9745-9787v1
